                                  Case 19-12330                 Doc 1        Filed 11/04/19            Page 1 of 18
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                  Delaware
 ____________________ District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          Fleetwood Acquisition Corp.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            Fleetwood Fixtures
                                           ______________________________________________________________________________________________________
     in the last 8 years                    Highcountry Millwork
                                           ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              4 ___
                                           ___ 6 – ___
                                                     4 ___
                                                        5 ___
                                                           3 ___
                                                              3 ___
                                                                 0 5___ 1
                                                                        ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            111           Logistics Drive
                                           ______________________________________________               4076        Specialty Place
                                                                                                        _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            Shoemakersville                 PA        19555
                                           ______________________________________________               Longmont                     CO       80504
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Berks
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 http://www.fleetwoodfixtures.com/
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor           Fleetwood Acquisition Corp.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                            A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            
                                            ✔ None of the above

                                            B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                 3 ___
                                               ___  3 ___
                                                       7 ___
                                                          9

8.    Under which chapter of the            Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                            
                                            ✔ Chapter 11. Check all that apply:
                                                            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                                4/01/22 and every 3 years after that).
                                                            
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12

9.    Were prior bankruptcy cases           
                                            ✔ No
      filed by or against the debtor
      within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY

10.   Are any bankruptcy cases               No
      pending or being filed by a
      business partner or an                
                                            ✔ Yes.            (see attached)
                                                      Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                        District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.                         Case number, if known ________________________________


     Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor         Fleetwood Acquisition Corp.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       ✔ No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       
                                       ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                       
                                       ✔ 200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000               
                                                                        ✔ $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                                 Case 19-12330                Doc 1            Filed 11/04/19        Page 4 of 18

Debtor         Fleetwood Acquisition Corp.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                 
                                                                            ✔ $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                           11/04/2019
                                            Executed on _________________
                                                        MM / DD / YYYY


                                           /s/ Octavio Diaz
                                            _____________________________________________              Octavio Diaz
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                  Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                         /s/ Erin R. Fay
                                            _____________________________________________              Date         11/04/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            Erin R. Fay
                                            _________________________________________________________________________________________________
                                            Printed name
                                            Bayard P.A.
                                            _________________________________________________________________________________________________
                                            Firm name
                                            600            N. King Street, Suite 400
                                            _________________________________________________________________________________________________
                                            Number     Street
                                            Wilmington
                                            ____________________________________________________            DE             19801
                                                                                                           ____________ ______________________________
                                            City                                                           State        ZIP Code

                                            302.655.5000
                                            ____________________________________                              efay@bayardlaw.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            efay@bayardlaw.com                                             DE
                                            ______________________________________________________ ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                                 Schedule 1

             Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the affiliated entities listed below (collectively, the “Debtors”) filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code in the United States
Bankruptcy Court for the District of Delaware. The Debtors have filed a motion requesting that the
chapter 11 cases of these entities be consolidated for procedural purposes only and jointly administered
pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

                                                  Company

                                        Fleetwood Acquisition Corp.

                                          Fleetwood Industries, Inc.

                                        High Country Millwork Inc.




{BAY:03426689v1}
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE


In re                                              Chapter 11

FLEETWOOD ACQUISITION CORP.,                       Case No. 19-       (    )

                         Debtor.


                       STATEMENT OF CORPORATE OWNERSHIP

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Fed. R. Bankr. P., the following is a list of
 corporations, other than a governmental unit, that directly or indirectly own 10% or more of any
 class of the above-captioned debtor’s equity interests:

            Shareholder                                Percentage of Equity Held


Fixture Holdings LP                                               93.00%




                                       {BAY:03426689v1}2
                   Case 19-12330       Doc 1    Filed 11/04/19       Page 7 of 18



                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE


In re                                                 Chapter 11

FLEETWOOD ACQUISITION CORP.,                          Case No. 19-      (   )

                         Debtor.


                          LIST OF EQUITY SECURITY HOLDERS

       Pursuant to 1007(a)(3) of the Fed. R. Bankr. P., the following is a list of entities holding an
 interest in the above-captioned debtor:

                                                                                  Percentage of
                Name                           Mailing Address
                                                                                   Equity Held
                                     c/o Grey Mountain Partners
Fixture Holdings LP                  1470 Walnut Street, Suite 400,                  93.00%
                                     Boulder, CO 80302

Brookside Mezzanine Fund III         201 Tresser Boulevard, Suite 300
                                                                                      4.23%
LP                                   Stamford, CT 06901

                                     525 William Penn Plance, 26th Flr.
                                     Pittsburgh, PA 15219
                                     (Attn: Joseph F. King)

Citizens Bank of Pennsylvania        with a copy to                                   2.23%

                                     28 State Street
                                     Boston, MA 02109 (Attn: Bryan
                                     Eger)

                                     612 Brownsville Rd.
Michael P. Boyer                                                                      0.42%
                                     Sinking Spring, PA 19608


                                     290 South Woodmont Drive
John Christie                                                                         0.06%
                                     Downingtown, PA 19335


                                     120 Governor Markham Dr.
Pamela Gans-Demarest                                                                  0.05%
                                     Glen Mills, PA 19342




{BAY:03426689v1}
                                         Case 19-12330              Doc 1      Filed 11/04/19            Page 8 of 18

      Fill in this information to identify the case:

      Debtor name     Fleetwood Acquisition Corp.
      United States Bankruptcy Court for the:                           District of Delaware

      Case number (If known):
                                                                                (State)
                                                                                                                                             Check if this is an
                                                                                                                                                 amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete               Name, telephone number, and   Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code         email address of creditor     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 contact                       debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated,   total claim amount and deduction for value of
                                                                               services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
     BLATT CONSTRUCTION INC                     ATTN LEGAL                     PROFESSIONAL                                                                 $561,063.04
1    8 TUBE DRIVE                               P: 610-916-9828                SERVICES
     READING, PA 19605                          F: 610-916-1040
                                                tblatt@blattgroup.com


     B&L WOOD CREATIONS INC                     ATTN JON SUESS                 TRADE DEBTS                                                                  $455,369.68
2    669 S 1ST AVE STE 100                      P: 503-648-6735
     HILLSBORO, OR 97123                        F: 503-693-1420



     COMMERCIAL DECOR GROUP                     ATTN TRAE M SEELY              TRADE DEBTS                                                                  $397,843.11
3    920 MENDOCINO AVE. SUITE 3                 P: 800-844-7040
     SANTA ROSA, CA 95401                       F: 707-526-5193



     WUXI SENYO WOOD DISPLAY CO. ATTN LEGAL                                    TRADE DEBTS                                                                  $273,127.14
4    NO 68, XIHU EAST RD          P: 0086-510-88789595
     ANZHEN TOWN                  F: 0086-510-88786555
     ANZHEN TOWN, XISHAN DISTRICT vivian.zhang@senyometal.com
     214105 CHINA

     AMERICAN EXPRESS                           ATTN LEGAL                     TRADE DEBTS                                                                  $251,575.82
5    200 VESEY STREET                           P: 212-640-2000
     NEW YORK, NY 10285-3106                    F:



     INNER GLOBAL INC                           ATTN LEGAL                     TRADE DEBTS                                                                  $177,235.00
6    601 S. FIGUEROA ST.                        P: 626-695-8758
     SUITE 4050                                 F:
     LOS ANGELES, CA 90017




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                    page 1
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    Debtor
                   Fleetwood Acquisition Corp.                                                  Case number (if known)
                 Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim    Indicate if       Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade    claim is          If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,     contingent,       claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,     total claim amount and deduction for value of
                                                                          services, and          or disputed       collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

     CML CUSTOM METAL LIMITED   ATTN PATRICK MEDAHIAN                     TRADE DEBTS                                                                     $167,883.00
7    47 ORTONA COURT            P: 905-761-6868
     CONCORD, ON L4K 3M2 CANADA F: 905-761-6882



     AXIS GLOBAL SYSTEMS, LLC     ATTN LEGAL                              TRADE DEBTS                                                                     $164,751.35
8    5901 WEST SIDE AVENUE, SUITE P: 718-458-3666
     503                          F: 908-967-5295
     NORTH BERGEN, NJ 07047


     ROY METAL PRODUCTS INC                ATTN FRANCIS ROY, ROBERT TRADE DEBTS                                                                           $152,116.49
9    52 MORIGEAU BLVD.                     MORENCY & BRIGITTE
     SAINT-FRANCOIS DE LA RIVIERE          SAVOIE
     DU SUD, QC G0R 3A0 CANADA             P: 800-297-2711
                                           F: 418-259-7449

   LEO D. BERNSTEIN & SONS, INC. ATTN LEGAL                     TRADE DEBTS                                                                               $144,936.10
10 151 WEST 25TH ST.             P: 212-337-9578
   NEW YORK, NY 10001            F: 212-337-9579
                                 solutions@bernsteindisplay.com


   YUNKER INDUSTRIES, INC.                 ATTN LEGAL                     TRADE DEBTS                                                                     $144,107.18
11 310 O'CONNOR DR.                        P: 877-798-6537
   ELKHORN, WI 53121                       F: 262-723-3340



   AIRE RIDE TRANSFER INC                  ATTN PETE POLLINI              TRADE DEBTS                                                                     $137,682.00
12 595 SHREWSBURY AVE.                     P: 800-782-3568
   SUITE 204                               F:
   SHREWSBURY, NJ 07702


   RAPID MANUFACTURING INC                 ATTN LEGAL                     TRADE DEBTS                                                                     $125,653.36
13 4347 ANDERSON HIGHWAY                   P: 804-598-7467
   POWHATAN, VA 23139                      F: 804-598-7521



   SKYFRAME & ART, INC.                    ATTN LEGAL                     TRADE DEBTS                                                                     $119,620.00
14 28 EVANS TERMINAL                       P: 908-354-5656
   HILLSIDE, NJ 07205                      F: 212-941-6048



   EPICOR SOFTWARE                         ATTN LEGAL                     TRADE DEBTS                                                                     $114,608.49
15 CORPORATION                             P: 800-999-1809
   804 LAS CIMAS PARKWAY                   F: 512-328-3757
   AUSTIN, TX 78746




    Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 2
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  Debtor
                 Fleetwood Acquisition Corp.                                                  Case number (if known)
               Name




   Name of creditor and complete          Name, telephone number, and   Nature of the claim    Indicate if       Amount of unsecured claim
   mailing address, including zip code    email address of creditor     (for example, trade    claim is          If the claim is fully unsecured, fill in only unsecured
                                          contact                       debts, bank loans,     contingent,       claim amount. If claim is partially secured, fill in
                                                                        professional           unliquidated,     total claim amount and deduction for value of
                                                                        services, and          or disputed       collateral or setoff to calculate unsecured claim.
                                                                        government
                                                                        contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

   NICONAT MFG CORP                      ATTN LEGAL                     TRADE DEBTS                                                                     $113,966.72
16 2624 YATES AVE                        P: 323-721-1900 X310
   COMMERCE, CA 90040                    F:



   CARGOTRANS INC.                       DBA MARITRANS SHIPPING         TRADE DEBTS                                                                      $95,826.95
17 ATTN ANTHONY DEFILIPPIS               P: 516-593-5871
   170 EAST SUNRISE HIGHWAY              F: 516-593-8404
   VALLEY STREAM, NY 11581


   PEGASUS LOGISTICS GROUP,              ATTN BARBARA WOOLEY            TRADE DEBTS                                                                      $93,452.26
18 INC.                                  P: 469-671-0300
   306 AIRLINE DRIVE, SUITE 100          F: 469-671-0317
   COPPELL, TX 75019


   SADDLEBACK DISTRIBUTING,              ATTN STEVE WARREN              TRADE DEBTS                                                                      $90,571.00
19 LLC                                   P: 303-482-0780
   5460 W. CARYL AVE                     F:
   LITTLETON, CO 80128


   DILLMEIER ENTERPRISES INC             ATTN PHYLLIS COOPER &          TRADE DEBTS                                                                      $89,496.69
20 2903 INDUSTRIAL PARK ROAD             GARRET AMES
   VAN BUREN, AR 72956                   P: 479-474-7733
                                         F: 479-474-7734
                                         pcooper@dillmeierglass.com

   RADIANT GLOBAL LOGISTICS,             ATTN CLARA THOMAS & NEIL TRADE DEBTS                                                                            $86,528.35
21 INC.                                  GROSS
   405 114TH AVENUE SE, 3RD              P: 425-462-1094
   FLOOR                                 F: 425-462-0768
   BELLEVUE, WA 98004

   SITELINE CARPENTRY                    ATTN TOM FRANGELLA -           TRADE DEBTS                                                                      $80,137.00
22 14815 SOUTH MCKINLEY AVE.             PRESIDENT
   POSEN, IL 60469                       P: 708-388-1920
                                         F: 708-388-1941
                                         tfrangella@sitelineinc.com

   D&C METALWORKS                        ATTN DAVE CHRISTOPHER          TRADE DEBTS                                                                      $70,755.98
23 281 EAST 55TH AVENUE                  P: 303-789-3733
   DENVER, CO 80216                      F:



   SIERRA FOREST PRODUCTS                ATTN MICHELLE HIGHLAND         TRADE DEBTS                                                                      $66,282.56
24 5825 HAROLD GATTY DRIVE               P: 801-972-3377 X3226
   SALT LAKE CITY, UT 84116              F: 801-972-3397




  Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 3
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 Debtor
                Fleetwood Acquisition Corp.                                                  Case number (if known)
              Name




  Name of creditor and complete          Name, telephone number, and   Nature of the claim    Indicate if       Amount of unsecured claim
  mailing address, including zip code    email address of creditor     (for example, trade    claim is          If the claim is fully unsecured, fill in only unsecured
                                         contact                       debts, bank loans,     contingent,       claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,     total claim amount and deduction for value of
                                                                       services, and          or disputed       collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

   HOLIDAY FOLIAGE, INC.                ATTN LEGAL                     TRADE DEBTS                                                                      $62,785.46
25 2592 OTAY CENTER DRIVE               P: 619-661-9094
   SAN DIEGO, CA 92154                  F: 619-661-8382



   RKL LLP                              ATTN LEGAL                     PROFESSIONAL                                                                     $58,764.55
26 1800 FRUITVILLE PIKE                 P: 717-394-5666                SERVICES
   LANCASTER, PA 17601                  F: 717-394-0693



   KLINE BROTHERS                       ATTN GLENN & ROB               TRADE DEBTS                                                                      $58,639.16
27 10083 ALLENTOWN BLVD                 P: 717-469-0137
   GRANTVILLE, PA 17028                 F: 717-469-2371
                                        klinebros@comcast.net


   AIR CENTER INC                       ATTN LEGAL                     TRADE DEBTS                                                                      $58,524.04
28 6373 WINSIDE DRIVE                   P: 610-837-6700
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   GREENFIELD TOWER,                    F:
   CONCORDIA PLAZA                      hongkong@et2cint.com
   KOWLOON, HONG KONG

   SEYMOUR & ASSOCIATES                 ATTN LEGAL                     TRADE DEBTS                                                                      $55,000.00
30 5542 MOONSHADOW ST.                  P: 805-955-9421
   SIMI VALLEY, CA 93063                F: 805-955-9424




 Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                      page 4
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 Fill in this information to identify the case and this filing:


              Fleetwood Acquisition Corp.
 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the District of Delaware

 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                               List of Equity Security Holders and Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     11/04/2019
        Executed on ______________                              /s/ Octavio Diaz
                                                                 _________________________________________________________________________
                           MM / DD / YYYY                         Signature of individual signing on behalf of debtor



                                                                  Octavio Diaz
                                                                  ________________________________________________________________________
                                                                  Printed name

                                                                   Chief Restructuring Officer
                                                                  ______________________________________
                                                                  Position or relationship to debtor



Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             ACTION BY WRITTEN CONSENT
                            OF THE BOARD OF DIRECTORS OF
                            FLEETWOOD ACQUISITION CORP.

                                         November 1, 2019

       In accordance with Section 141(f) of the Delaware General Corporation Law, the
undersigned, being the Board of Directors (the “Board”) of Fleetwood Acquisition Corp., a
Delaware corporation (the “Corporation”), hereby takes the following actions and adopts the
following resolutions by written consent (this “Consent”) without a meeting effective for all
purposes as of the date set forth above.

        WHEREAS, the Board has considered (i) the difficulties the Corporation has experienced
recently with regard to the retail fixtures market and certain trade tariffs (ii) the financial and
operational aspects of the Corporation’s business, (iii) the future prospects and financial
performance and condition of the Corporation, (iv) current industry, economic and market
conditions and trends in the markets in which the Corporation competes, and (v) the current status
of the Corporation in light of the foregoing;

        WHEREAS, the Board has received, reviewed and considered the recommendation of
senior management of the Corporation and the advice of the Corporation’s advisors with respect
to the options available to the Corporation, including without limitation, the possibility of pursuing
a bankruptcy proceeding under Chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”),

        WHEREAS, the Board having previously delegated to the Restructuring Committee (the
“Committee”) of the Board the authority to, among other things, negotiate the Company’s use of
any cash collateral of Fixture Holdings, L.P. (the “Secured Lender”), or other restructuring
transactions or transactions to otherwise address the Company’s obligations to the Secured Lender,
that may be available to the Company,

        NOW, THEREFORE, BE IT RESOLVED, that after consideration of the alternatives
presented to it and the recommendations of senior management of the Corporation and the
Committee and the advice of the Corporation’s professionals and advisors the Board has
determined in its business judgment that it is desirable and in the best interests of the Corporation
and its creditors, employees, stockholders and other interested parties that a petition be filed in the
United States Bankruptcy Court for the District of Delaware by the Corporation seeking relief
under the provisions of Chapter 11 of the Bankruptcy Code.

        RESOLVED FURTHER, that the Corporation’s duly elected and presently incumbent
Chief Restructuring Officer (the “Proper Officer”), be, and hereby is, authorized, empowered,
and directed, on behalf of the Corporation and its name (a) to execute, verify and file all documents
necessary or appropriate in connection with the filing of the chapter 11 bankruptcy petition,
including, without limitation, all petitions, affidavits, declarations, schedules, statements of
financial affairs, lists, motions, applications, pleadings and other papers or documents in
connection with the chapter 11 bankruptcy petition; (b) take and perform any and all actions
deemed necessary and proper to obtain such relief as authorized herein and in connection with the
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Corporation’s Chapter 11 case (the “Bankruptcy Case”); (c) appear as necessary at all bankruptcy
proceedings on behalf of the Corporation; and (d) pay all such expenses where necessary or
appropriate in order to carry out fully the intent and accomplish the purposes of the resolutions as
adopted herein.

       RESOLVED FURTHER, that, subject to approval by the Committee, the Proper Officer
of the Corporation is authorized and empowered: (a) to use cash collateral according to terms
which may be negotiated by the management of the Corporation with the Secured Lender; (b) to
pledge and grant liens on the assets of the Corporation as may be contemplated by or required
under the terms of such cash collateral agreement; and in connection therewith and subject to
approval by the Committee, the Proper Officer is hereby authorized and directed to execute
appropriate cash collateral agreements and related ancillary documents, whether consented to or
contested by the Corporation’s existing lenders.

        RESOLVED FURTHER, that the Proper Officer is hereby authorized to make decisions
with respect to all aspects of the management and operation of the Corporation’s business
including, without limitation, organization, human resources, marketing, asset sales, logistics,
finance, administration, oversight, of the prosecution of the Corporation’s Bankruptcy Case,
including, but not limited to, bankruptcy-related reporting requirements, filing of Statements of
Financial Affairs, Schedules of Assets and Liabilities, a chapter 11 plan and related disclosure
statement, claims management, managing outside professionals and such other aspects as he may
identify, in such manner as he deems necessary or appropriate in his reasonable discretion,
consistent with the business judgment rule, subject to appropriate approval and governance by the
Committee or the Board, as applicable, in accordance with the Corporation’s articles of
incorporation and bylaws, applicable laws and the orders of the bankruptcy court.

        RESOLVED FURTHER that the Proper Officer is hereby authorized to make decisions
with respect to the Corporation’s Bankruptcy Case, including, but not limited to, pursuing a sale
or restructuring of the Corporation’s business or assets.

        RESOLVED FURTHER, that the previous retention by the Corporation’s management of
the law firm of Bayard, P.A. (“Bayard”) as bankruptcy counsel, subject to any requisite
bankruptcy court approval, to the Corporation to represent and assist the Corporation in connection
with its consideration of various insolvency-related obligations and bankruptcy alternatives, and
to assist the Corporation in carrying out its duties under chapter 11 of the Bankruptcy Code, and
to take any and all actions to advance the Corporation’s rights in connection therewith, is hereby
approved and ratified, and the Proper Officer is hereby authorized and directed to execute and
ratify appropriate retention agreements and to cause to be filed an appropriate application for
authority to retain the services of Bayard.

        RESOLVED FURTHER, that the Proper Officer be, and hereby is, authorized and directed
to employ Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) as claims and noticing
agent, subject to any requisite bankruptcy court approval, to represent and assist the Corporation
in carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance
the Corporation’s rights and obligations, including filing any pleadings; and in connection
therewith, the Proper Officer is hereby authorized and directed to execute appropriate retention



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agreements, pay appropriate retainers and cause to be filed an appropriate application for authority
to retain the services of Stretto.

        RESOLVED FURTHER, that the Proper Officer is hereby authorized and empowered to
employ on behalf of the Corporation any other professionals necessary to assist the Corporation in
carrying out its duties under the Bankruptcy Code; and in connection therewith, the Proper Officer
is hereby authorized and directed to execute appropriate retention agreements, pay appropriate
retainers prior to or immediately upon the filing of the Bankruptcy Case and cause to be filed
appropriate applications with the bankruptcy court for authority to retain the services of any other
professional, as necessary, and on such terms as are deemed necessary, desirable, and proper by
the Proper Officer.

       RESOLVED FURTHER, that the Proper Officer is hereby authorized to conduct business
operations as he determines to be in the best interests of the bankruptcy estate of the Corporation
and the creditors of the Corporation, which may include, but not be limited to, a determination to
continue business operations with a view towards reorganizing or selling the Corporation or
substantially all of the assets of the Corporation.

        RESOLVED FURTHER, that, subject to the foregoing resolutions and requisite approval
of the Committee or Board, as applicable, the Proper Officer is authorized and empowered to take
on behalf of the Corporation any and all actions, to execute, deliver, certify, file or record and
perform any and all documents, agreements, instruments, motions, affidavits, applications for
approvals or rulings of governmental or regulatory authorities or certificates and to take any and
all actions and steps deemed by the Proper Officer to be necessary or desirable to carry out the
purpose and intent of each of the foregoing resolutions and to effectuate a successful chapter 11
proceeding including, without limitation, the opening of new deposit accounts as a debtor-in-
possession under the Bankruptcy Code, and the taking of such actions or execution of such
documents shall be conclusive evidence of the necessity or desirability thereof.

        RESOLVED FURTHER, that any and all actions heretofore taken by the Proper Officer or
the Board in the name and on behalf of the Corporation in furtherance of the purpose and intent of
any or all of the foregoing resolutions are hereby ratified, confirmed, and approved in all respects.

General Authority and Ratification

         RESOLVED FURTHER, that the Proper Officer be, and hereby is, authorized and directed,
for, in the name and on behalf of the Corporation, to take such steps, to perform all such acts and
things, and to prepare, execute, swear to, acknowledge, certify, deliver, and file and record with
appropriate governmental authorities or other persons any and all agreements, documents,
applications, reports, notices, waivers, consents, certificates, or instruments which are
contemplated by this Consent or which may be required by law, or appear to the Proper Officer or
legal counsel to the Corporation, to be necessary, convenient, or appropriate to effectuate and
consummate the transactions contemplated by the foregoing resolutions, to perform any
obligations thereunder in accordance therewith, and to otherwise effectuate the purposes and
intents of the foregoing resolutions, such necessity, convenience, or appropriateness to be
conclusively evidenced by the taking or performance of any of the foregoing steps, acts and things,
executions, filings, and/or recordings.


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       RESOLVED FURTHER, that any lawful act heretofore taken or caused to be taken by the
Proper Officer in connection with the matters contemplated in the foregoing resolutions be, and
hereby is in all respects approved, adopted, ratified, and confirmed by the Board as an act of the
Corporation.

      RESOLVED FURTHER, that this Consent shall be filed with the minutes of the
Corporation.

       IN WITNESS WHEREOF, the undersigned, being the directors of the Corporation, do
hereby execute this written consent as of the date first set forth above.

                                                            DIRECTOR:

                                                            ______________________________
                                                            Jeff Vincent




                                                            DIRECTOR:

                                                            ______________________________
                                                            Wm. Robert Wright II




                                                            DIRECTOR:

                                                            ______________________________
                                                            Christopher Reef




                                               -4-
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       RESOLVED FURTHER, that any lawful act heretofore taken or caused to be taken by the
Proper Officer in connection with the matters contemplated in the foregoing resolutions be, and
hereby is in all respects approved, adopted, ratified, and confirmed by the Board as an act of the
Corporation.

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Corporation.

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                                                            DIRECTOR:

                                                            ______________________________
                                                            Jeff Vincent




                                                            DIRECTOR:

                                                            ______________________________
                                                            Wm. Robert Wright II




                                                            DIRECTOR:

                                                            ______________________________
                                                            Christopher Reef




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